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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 MATILDA BULLOCK, on behalf of
 S.B. a minor,

                Plaintiff,
                                                          Case No. 14-cv-578 JPG/CJP
         v.

 CAROLYN W. COLVIN,
 Acting Commissioner of Social Security,

                Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on plaintiff’s motion for leave to proceed in forma

pauperis (Doc. 3). A federal court may permit an indigent party to proceed without pre-payment

of fees. 28 U.S.C. § 1915(a)(1). Nevertheless, a court can deny a qualified plaintiff leave to file

in forma pauperis or can dismiss a case if the action is clearly frivolous or malicious. 28 U.S.C. §

1915(e)(2)(B)(i). The test for determining if an action is frivolous or without merit is whether the

plaintiff can make a rational argument on the law or facts in support of the claim. Neitzke v.

Williams, 490 U.S. 319, 325 (1989); Corgain v. Miller, 708 F.2d 1241, 1247 (7th Cir. 1983).

When assessing a motion to proceed in forma pauperis, a district court should inquire into the

merits of the plaintiff’s claims, and if the court finds them to be frivolous, it should deny leave to

proceed in forma pauperis. Lucien v. Roegner, 682 F.2d 625, 626 (7th Cir. 1982).

       The Court is satisfied from plaintiff’s affidavit that she is indigent. Furthermore, the

Court does not find anything in the file to indicate that this action is frivolous or malicious.

Therefore, the Court GRANTS the motion to proceed in forma pauperis without prepayment of

fees and costs (Doc. 3). The Court notes, however, that should it become apparent that the action

is frivolous or malicious at any time in the future, it may dismiss the case pursuant to 28 U.S.C. §
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1915(e)(2)(B)(i).

       If the plaintiff wishes the United States Marshals Service to serve process in this case, the

Court DIRECTS the plaintiff to provide to the United States Marshals Service the summons

issued in this case, the appropriately completed USM-285 forms and sufficient copies of the

complaint for service.

       The Court further DIRECTS the United States Marshal, upon receipt of the

aforementioned documents from the plaintiff and pursuant to Federal Rule of Civil Procedure

4(c)(3), to serve a copy of the summons, complaint and this order upon the defendant

Commissioner of Social Security, the United States Attorney for the Southern District of Illinois

and the Attorney General of the United States, Washington, D.C., in the manner specified by

Federal Rule of Civil Procedure 4(i)(1) & (2), as directed by the plaintiff. Costs of service shall be

borne by the United States.


IT IS SO ORDERED.
DATED: May 27, 2014


                                              s/ J. Phil Gilbert
                                              U.S. DISTRICT JUDGE




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